Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 1 of 35 PageID# 1616




                       united states district court
                       EASTERN DISTRICT OF VIRGINIA
                              Norfolk Division



 UNITED STATES OF AMERICA,


 V.                                             Criminal No. 2:17crl26


 DARYL G. BANK,


             Defendant.




                              OPINION AND ORDER


       This matter is before the Court on Defendant Daryl G. Bank's

 ("Defendant" or "Bank") Motion to Dismiss for Double               Jeopardy

 Violation.     Def.'s Mot., EOF No. 139.      Defendant moves to dismiss

 the pending indictment against him in light of the United States

 Supreme Court's decision in Kokesh v. SEC, 137 S. Ct. 1635 (2017).

 Id.   For the reasons explained below. Defendant's motion to dismiss

 is DENIED.


                  I. FACTUAL AND PROCEDURAL BACKGROUND


       In the second superseding indictment issued by a Grand Jury

 of this Court on May 25, 2018, Bank was charged with the following

 counts:


    • Conspiracy to commit mail and wire fraud, in violation of 18

       U.S.C. § 1349 (Count 1);

    • Mail fraud, in violation of 18 U.S.C. §§ 2, 1341 (Counts 2-

       6);
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 2 of 35 PageID# 1617
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 3 of 35 PageID# 1618
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 4 of 35 PageID# 1619
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 5 of 35 PageID# 1620
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 6 of 35 PageID# 1621
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 7 of 35 PageID# 1622
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 8 of 35 PageID# 1623
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 9 of 35 PageID# 1624
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 10 of 35 PageID# 1625
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 11 of 35 PageID# 1626
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 12 of 35 PageID# 1627
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 13 of 35 PageID# 1628
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 14 of 35 PageID# 1629
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 15 of 35 PageID# 1630
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 16 of 35 PageID# 1631
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 17 of 35 PageID# 1632
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 18 of 35 PageID# 1633
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 19 of 35 PageID# 1634
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 20 of 35 PageID# 1635
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 21 of 35 PageID# 1636
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 22 of 35 PageID# 1637
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 23 of 35 PageID# 1638
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 24 of 35 PageID# 1639
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 25 of 35 PageID# 1640
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 26 of 35 PageID# 1641
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 27 of 35 PageID# 1642
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 28 of 35 PageID# 1643
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 29 of 35 PageID# 1644
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 30 of 35 PageID# 1645
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 31 of 35 PageID# 1646
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 32 of 35 PageID# 1647
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 33 of 35 PageID# 1648
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 34 of 35 PageID# 1649
Case 2:17-cr-00126-RAJ-LRL Document 180 Filed 05/08/19 Page 35 of 35 PageID# 1650
